                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION



  IN RE:                                          Case No, 3:19-bk-07235
                                                  Chapter 7
  CUMMINGS MANOOKIAN, PLLC                        Judge Walker

         Debtor.                                  Adv. Proc. No. 3:20-ap-90002

  JEANNE ANN BURTON, TRUSTEE

         Plaintiff,

  v.

  HAGH LAW, PLLC; AFSOON
  HAGH; and MANOOKIAN PLLC,

         Defendants.



        APPELLANTS BRIAN MANOOKIAN, MANOOKIAN PLLC, AFSOON
       HAGHM HAGH LAW PLLC STATEMENT OF ISSUES ON APPEAL AND
                       DESIGNATION OF RECORD


         Pursuant to Federal Rule of Bankruptcy Procedure 8009, and the District Court’s

 Acknowledgement of Receipt of Appeal dated April 24, 2023 (Doc. No. 235) Appellants

 Brian Manookian, Manookian PLLC, Afsoon Hagh, and Hagh Law PLLC (“Appellants”)

 hereby file this Statement of the Issues to be Presented on Appeal and Designation of

 Items to be Included in the Appellate Record.

 I.      Issues To Be Presented

         Whether the Bankruptcy Court erred in failing to recuse itself where it belatedly

 revealed, but declines to detail, engaging in multiple ex parte communications about this



                                             1
Case 3:20-ap-90002     Doc 236    Filed 05/05/23 Entered 05/05/23 12:58:36      Desc Main
                                 Document      Page 1 of 3
 litigation with one or more attorneys representing parties in this litigation ; and where

 the Court continues to decline to reveal the substance, date, and parties to each of the ex

 parte communications.

           Whether the Bankruptcy Court erred in failing to recuse itself where it quashed a

 subpoena to itself seeking to determine the specifics of the Court’s ex parte

 communications and, in that Order, articulated additional biases and prejudices against

 the moving party.

           Whether the Bankruptcy Court erred in failing to recuse itself where it belatedly

 revealed that it has been relying upon, and, indeed, admitted to basing its decisions in

 this case on, a highly inflammatory, vacated Tennessee state court order, which had long

 since been overturned by the Tennessee Court of Appeals, about one of the parties to this

 litigation; and which order was issued by a Tennessee state trial court judge who was

 additionally disqualified from that action on the bases of bias.

 II.       Designation of Items To Be Included in Appellate Record

           The items to be included in the appellate record consist of the following:

       •   All docket entries in the bankruptcy proceeding (No. 3:19-bk-07235) and related

 adversary proceeding (No. 3:20-ap-90002), specifically including adversary proceeding

 docket entries 161, 165, 173, 174, 177, 178, 229 and all attachments thereto.

       •   Transcript of June 29, 2022 adversary proceeding hearing on motion to disqualify.

       •   Transcript (forthcoming) of April 4, 2023 hearing on motion to disqualify

 (transcript requested at Docket No. 226).




                                                2
Case 3:20-ap-90002        Doc 236    Filed 05/05/23 Entered 05/05/23 12:58:36           Desc Main
                                    Document      Page 2 of 3
 Date: May 5, 2023                       Respectfully submitted,


                                               /s/ John Spragens
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                                               Attorney for Appellants


                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed May 5, 2023 and
 served electronically upon all parties in interest or their counsel as indicated on the
 receipt issued by the Court’s electronic filing system.


                                                /s/ John Spragens




                                            3
Case 3:20-ap-90002    Doc 236    Filed 05/05/23 Entered 05/05/23 12:58:36     Desc Main
                                Document      Page 3 of 3
